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                                      ORDERED.
Dated: November 01, 2022




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

  In re:

  Don Karl Juravin,                             )        Case No. 6:18-bk-06821-LVV
                                                )        Chapter 7
           Debtor.                              )
                                                )

                ORDER DENYING MOTION SEEKING LEAVE TO FILE SUIT

           THIS CASE came before the Court without a hearing for consideration of the Motion

  Seeking Leave to File Suit Against Dennis Kennedy in the U.S. District Court for the District of

  Florida or Other Forum or Venue (Doc. No. 728) (“Motion”) filed by the Debtor, Don Karl Juravin

  (“Debtor”), as Trustee for Code2GOD (“Code2GOD”). Code2GOD, an alleged non-profit

  charitable organization formed for religious purposes, seeks leave to file an action against the

  chapter 7 trustee, Dennis D Kennedy. After considering the Motion and being otherwise fully

  advised in the premises, the Court denies the Motion without prejudice.

           Debtor, Don Karl Juravin, is not an attorney permitted to practice before the Court. Local

  Rule 1074-1 provides “[c]orporations, partnerships, trusts, and other persons who are not




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individuals may appear and be heard through counsel permitted to practice in the Court under

Local Rule 2090-1” Local Rule 1074-1 (emphasis added). Code2GOD is not an individual and as

a result, may only appear and be heard in this case through counsel. See Palazzo v. Gulf Oil Corp.,

764 F.2d 1381 (11th Cir. 1985)(entities cannot appear pro se and must be represented by counsel).

See also Kell v. Smith, 743 F.App’x 292 (11th Cir. 2018)(District Court did not abuse its discretion

by ordering churches to obtain counsel). Debtor, a non-attorney, may not file papers in this case

as trustee for Code2GOD.

       Furthermore, the Debtor is represented by counsel—Henry N. Portner. To the extent

Debtor filed the Motion in his individual capacity, Local Rule 9011-2 provides “[a]ny party for

whom a general appearance of counsel has been made shall not thereafter take any step or be heard

in the case in proper person, that is on his or her own behalf, absent prior leave of Court.” Local

Rule 9011-2. Debtor has not obtained leave of Court and may not file papers in this case in his

individual capacity.

       Accordingly, it is ORDERED that the Motion (Doc. No. 728) is DENIED WITHOUT

PREJUDICE.

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Clerk to serve.




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